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 Kilmar Armando Abrego Garcia
 and others,

                Plaintiffs,

        v.                                                     No. 8:25-cv-951 (PX)

 Kristi Noem
 and others,

                Defendants.


   Motion for Leave to Submit Self-Represented Amicus Brief
                         in Support of
           Plaintiffs’ Motion for Additional Relief

       I move under Local Rule 12(b) for leave to file the attached amicus brief in support of

Plaintiffs’ motion for additional relief, ECF No. 62, which Defendants (the “Government”) have

opposed, ECF No. 65.

       Interest of Amicus. I have been a member of the Bar of this Court since January 12,

2018. Like Mr. Abrego Garcia, I reside in Maryland with my American-citizen wife. See Compl.

(ECF No. 1) at 2. And like Mr. Abrego Garcia, I believe that if the Government erroneously sends

somebody to a foreign prison, the Constitution requires that the Government work in good faith

to bring him back home.

       Desirability of Amicus Briefing. This case is moving at breakneck speed through

sophisticated constitutional questions. The Supreme Court affirmed this Court’s temporary

restraining order (TRO) only five days ago. Noem v. Abrego Garcia, no. 24A949, slip op. at 2 (Apr.

10, 2025). Since then, this Court has amended its order, ECF No. 51; Plaintiffs have moved for

additional relief related to the Government’s failure to follow the order, ECF No. 62; the

Government has opposed the motion, ECF No. 65; and Plaintiffs have replied, ECF No. 75.
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Combined, the briefing on the motion spends less than one page discussing the law governing a

court’s deference to the Executive. Yet the Government’s entire argument appears to hinge on

this law. The attached amicus brief works through relevant authorities, summarizing key cases

and doctrines. I only hope this work supplements the extraordinary work by the parties and by

this Court.

       Authorship and Funding. I wrote the brief myself. No party’s counsel authored the brief

or any part of it. No party or party’s counsel contributed any money to fund the preparation or

submission of the brief.

       Conclusion. For these reasons, the Court should grant this motion and grant leave to file

the attached amicus brief.

                                                 Respectfully submitted,

                                                     /s/ Joseph Dudek
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